517 U.S. 1301116 S. Ct. 1821134 L. Ed. 2d 925
    No. A-910
    SUPREME COURT OF THE UNITED STATES
    May 15, 1996, Decided
    
      Rehnquist, Stevens, O'Connor, Scalia, Kennedy, Souter, Thomas, Ginsburg, Breyer.
      REHNQUIST
      ON APPLICATION TO VACATE STAY OF EXECUTION
      CHIEF JUSTICE REHNQUIST, Circuit Justice.
    
    
      1
      Applicant has filed an application to vacate an order of the Court of Appeals for the Fourth Circuit staying the execution of respondent Tuggle. It is my understanding, however, that no such stay of execution is in effect. While Tuggle asked the Court of Appeals both to stay his execution, and to stay issuance of its mandate in his case, see Tuggle v. Netherland, 79 F.3d 1386 (1996), the Court of Appeals' order only stayed the issuance of its mandate for a period of 30 days. Hence there is no stay of execution for me to vacate.
    
    